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              Exhibit A
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      HAND SANITIZER NOW IN STOCK
We’ve received a small shipment of hand sanitizer that is now avail-
                  able for sale on our website.




                                          • 80% Alcohol
                                          • 200ml bottles
                                          • Liquid hand sanitizer
                                          • Available is cases of 6, 12, and 48
                                          • Can be sprayed on surfaces too*




 As you may know, Diamond created a PPE co-op to help fellow home care facilities and physi-
              cian’s offices obtain the items they need to re-open their offices.

                                 Learn more on our website.




               www.diamondrx.com
                                     (800) 977-3002
                                                                  * Sprayer not included
